    AO 245B (Rev. 10/15) Judgment in a Criminal Case
                         Sheet 1



                                              UNITED STATES DISTRICT COURT
                                             Middle District
                                         __________ DistrictofofTennessee
                                                                 __________
                                                          )
                  UNITED STATES OF AMERICA                )     JUDGMENT IN A CRIMINAL CASE
                             v.                           )
                     GEORGE BUTTERWORTH                   )
                                                          )     Case Number: 3:15-00033-1
                                                          )     USM Number:
                                                          )
                                                          )       James Todd
                                                          )     Defendant’s Attorney
    THE DEFENDANT:
    G
    ✔ pleaded guilty to count(s)          1,2,and 3 of the Information.

    G pleaded nolo contendere to count(s)
       which was accepted by the court.
    G was found guilty on count(s)
       after a plea of not guilty.

    The defendant is adjudicated guilty of these offenses:

    Title & Section ?                 Nature of Offense                                                         Offense Ended               Count
     18 U.S.C.§371                      Conspiracy to Violate the Clean Water Act                                6/25/2014                    1

     33 U.S.C.§1319(c)(2)(A)            Violation of the Clean Water Act                                         12/4/2013                    2

     18 U.S.C.§1001(a)(2)               False Statements                                                         6/25/2014                    3

           The defendant is sentenced as provided in pages 2 through                6         of this judgment. The sentence is imposed pursuant to
    the Sentencing Reform Act of 1984.
    G The defendant has been found not guilty on count(s)
    G Count(s)                                              G is      G are dismissed on the motion of the United States.
             It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
    or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
    the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                              1/29/2016
                                                                             Date of Imposition of Judgment




                                                                             Signature of Judge




                                                                              ALETA A. TRAUGER, U.S. District Judge
                                                                             Name and Title of Judge


                                                                              2/3/2016
                                                                             Date




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   AO 245B (Rev. 10/15) Judgment in Criminal Case
                          Sheet 2 — Imprisonment

                                                                                                         Judgment — Page    2         of   6
    DEFENDANT: GEORGE BUTTERWORTH
    CASE NUMBER: 3:15-00033-1

                                                               IMPRISONMENT
             The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
    total term of:
        2 months on each of counts 1, 2 and 3 to run concurrently with each other.




          G
          ✔ The court makes the following recommendations to the Bureau of Prisons:



        1. That defendant be housed in a federal minimum security special needs facility close to Nashville, Tennessee.



          G The defendant is remanded to the custody of the United States Marshal.

          G The defendant shall surrender to the United States Marshal for this district:
              G at                                    G a.m.      G p.m.        on                                              .

              G as notified by the United States Marshal.

          G
          ✔ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:


              G
              ✔ before 2 p.m. on          3/28/2016                         .

              G as notified by the United States Marshal.
              G as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
    I have executed this judgment as follows:




              Defendant delivered on                                                        to

    a                                                  , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                             By
                                                                                                   DEPUTY UNITED STATES MARSHAL




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   AO 245B (Rev. 10/15) Judgment in a Criminal Case
                         Sheet 3 — Supervised Release
                                                                                                            Judgment—Page       3     of         6
    DEFENDANT: GEORGE BUTTERWORTH
    CASE NUMBER: 3:15-00033-1
                                                             SUPERVISED RELEASE
    Upon release from imprisonment, the defendant shall be on supervised release for a term of :
    1 year as to each of counts 1, 2 and 3 to run concurrently with each other.

            The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
    custody of the Bureau of Prisons.
    The defendant shall not commit another federal, state or local crime.
    The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
    substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
    thereafter, as determined by the court.
    G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
           future substance abuse. (Check, if applicable.)

    G
    ✔ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

    G
    ✔ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

    G The  defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
      as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
           works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

    G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
            If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
    Schedule of Payments sheet of this judgment.
              The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
    on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
      1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)    the defendant shall support his or her dependents and meet other family responsibilities;
      5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
      6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;
     10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;
     11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court; and
     13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
            record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant’s compliance with such notification requirement.




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    AO 245B (Rev. 10/15) Judgment in a Criminal Case
            Sheet 3C — Supervised Release
                                                                                                   Judgment—Page    4     of         6
    DEFENDANT: GEORGE BUTTERWORTH
    CASE NUMBER: 3:15-00033-1

                                              SPECIAL CONDITIONS OF SUPERVISION
     1. The defendant shall pay restitution, joint and several, with Gerald McGee and Southern Grease Company, to the
     following victims in an amount totaling $48,380.64.

     $32,277.14
     City of Clarksville
     Gas and Water Department
     2215 Madison Street
     Clarksville, Tennessee 37043
     Re: Docket No. 3:15CR00022/Southern Grease

     $16, 103.50
     Water Authority of Dickson County
     101 Cowan Road
     Dickson, Tennessee 37055
     Re: Docket No. 3:15CR00033/Southern Grease

      Payments shall be submitted to the Clerk, United States District Court, 801 Broadway, Room 800, Nashville, Tennessee
     37203. If the defendant is incarcerated, payment shall begin under the Bureau of Prisons’ Inmate Financial Responsibility
     Program. Should there be an unpaid balance when supervision commences, the defendant shall pay the remaining
     restitution at a minimum monthly rate of 10 percent of the defendant’s gross monthly income. No interest shall accrue as
     long as the defendant remains in compliance with the payment schedule ordered. Pursuant to 18 U.S.C. § 3664(k), the
     defendant shall notify the court and United States Attorney of any material change in economic circumstances that might
     affect ability to pay.

     2. The defendant shall furnish all financial records, including, without limitation, earnings records and tax returns, to the
     United States Probation Office upon request.

     3. The defendant shall not incur new debt or open additional lines of credit without the prior approval of the United States
     Probation Office.

     4. The defendant shall not engage in, manage, or oversee any commercial waste hauling or disposal company.

     5. The defendant is prohibited from owning, carrying, or possessing firearms, destructive devices, or other dangerous
     weapons.

     6. The defendant shall cooperate in the collection of DNA as directed by the United States Probation Office.




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  AO 245B (Rev. 10/15) Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties
                                                                                                      Judgment — Page       5     of         6
   DEFENDANT: GEORGE BUTTERWORTH
   CASE NUMBER: 3:15-00033-1
                                                     CRIMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                          Assessment                                     Fine                                 Restitution
   TOTALS             $ 300.00                                       $                                    $    48,380.64


   G The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case (AO 245C) will be entered
        after such determination.

   G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
        the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
        before the United States is paid.

     Name of Payee                                                          Total Loss*         Restitution Ordered Priority or Percentage
     City of Clarksville                                                         $32,277.14              $32,277.14
     Water Authority of Dickson County                                           $16,103.50              $16,103.50




   TOTALS                               $                48,380.64           $                48,380.64


   G     Restitution amount ordered pursuant to plea agreement $

   G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

   G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         G the interest requirement is waived for the          G fine     G restitution.
         G the interest requirement for the           G fine    G restitution is modified as follows:

   * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
   September 13, 1994, but before April 23, 1996.

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   AO 245B (Rev. 10/15) Judgment in a Criminal Case
           Sheet 6 — Schedule of Payments

                                                                                                                   Judgment — Page       6      of          6
    DEFENDANT: GEORGE BUTTERWORTH
    CASE NUMBER: 3:15-00033-1

                                                          SCHEDULE OF PAYMENTS

    Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

    A     G
          ✔ Lump sum payment of $             48,680.64             due immediately, balance due

               G      not later than                                     , or
               G      in accordance         G C,       G D,        G E, or          G F below; or
    B     G Payment to begin immediately (may be combined with                   G C,         G D, or      G F below); or
    C     G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                               (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

    D     G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                               (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
               term of supervision; or

    E     G Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

    F     G Special instructions regarding the payment of criminal monetary penalties:




    Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
    imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
    Responsibility Program, are made to the clerk of the court.

    The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



    G
    ✔ Joint and Several

          Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
          and corresponding payee, if appropriate.

           Gerald McGee 3:15-00033-2 and Southern Grease Company 3:15-00033-3




    G The defendant shall pay the cost of prosecution.
    G The defendant shall pay the following court cost(s):
    G The defendant shall forfeit the defendant’s interest in the following property to the United States:



    Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
    (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

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